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                         Exhibit A

               consisting of the following 36 pages)


                   The Verified Complaint
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                           UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

DIGITAL MEDIA SOLUTIONS,LLC        ) CASE NO. 1:19-cv-145
4800 140th Avenue N.               )
Suite 101                          ) JUDGE
Clearwater, FL 33762,              )
                                   ) VERIFIED COMPLAINT
              Plaintiff,           )
                                   )
        v.                         )
                                   )
SOUTH UNIVERSITY OF OHIO,LLC       )
a/k/a DC SOUTH UNIVERSITY OF OHIO, )
LLC dba SOUTH UNIVERSITY           )
4743 Richmond Road                 )
Warrensville Heights, Ohio 44128   )
                                   )
Serve also:                        )
c/o Corporation Service Company,   )
Statutory Agent                    )
50 West Broad Street, Suite 1330   )
Columbus, OH 43215                 )
                                   )
       and                         )
                                   )
DCEH EDUCATION HOLDINGS,LLC        )
c/o Corporation Service Company    )
Statutory Agent                    )
8825 N.23rd Avenue, Suite 100      )
Phoenix, AZ 85021                  )
                                   )
       and                         )
                                   )
ARGOSY EDUCATION GROUP,LLC         )
601 S. Lewis St.                   )
Orange, CA 92868                   )
                                   )
              Defendants.          )

         Plaintiff Digital Media Solutions, LLC ("DMS"), by and through undersigned counsel,

for its Complaint against Defendants DCEH Education Holdings, LLC ("DCEIV), South




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University of Ohio, LLC ("SUO"), and Argosy Education Group, LLC ("Argosy") states as

follows:

                                             INTRODUCTION

         I.           DMS, founded by a team of lifelong athletes, specializes in helping its clients

accelerate their growth by deploying diversified and data-driven digital media customer

acquisition solutions. DMS provided those services generally, and student lead generation

specifically, to DCEH and some of its subsidiary entities, including SUO and Argosy. It invoiced

DCEH and its subsidiaries, including SUO and Argosy, a total of $252,737, which remains

unpaid.

         2.           DMS brings this action for breach of contract, on account, unjust enrichment, and

to appoint a receiver over DCEH and its subsidiaries to ensure an orderly wind down of those

entities for the benefit of their creditors, including DMS,and all other interested parties.

                                                 PARTIES

         3.           DMS is a Delaware limited liability company. Its members consist of:

                      a.     Prism Data, LLC, a Delaware limited liability company with its principal

                             place of business in New York. The members of Prism Data, LLC are the

                             following individuals: Joseph Marinucci (a resident of Florida); Fernando

                             Borghese (a resident of Pennsylvania); Matthew Goodman (a resident of

                             Florida); and Luis Ruelas(a resident of New Jersey);

                      b.     CEP V-A DMS AIV Limited Partnership, a limited partnership organized

                             under the laws ofthe State of Delaware with its principal place of business

                             in Toronto, Ontario; and




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                      c.     CEP V DMS US Blocker Company, a corporation incorporated under the

                             laws of the State of Delaware with a principal place of business in

                             Toronto, Ontario.

         4.           SUO is an Arizona nonprofit limited liability company with its principal place of

business in Cuyahoga County, Ohio. SUO's sole member is South University Savannah, LLC.

South University Savannah, LLC's sole member is DCEH South University, LLC. DCEH South

University, LLC's sole member is DCEH. As noted, DCEH's sole member is Dream Center

Foundation, a California nonprofit corporation with its principal place of business in Los

Angeles, California. Therefore, SUO is a citizen ofthe State of California.

         5.           DCEH is an Arizona not for profit limited liability company. Its sole member is

Dream Center Foundation, a California nonprofit corporation with its principal place of business

in Los Angeles, California. Therefore, DCEH is a citizen of the State of California. See Delay v.

Rosenthal Collins Grp., LLC, 585 F.3d 1003, 1005 (6th Cir. 2009) (holding that a limited

liability company has the citizenship of its members, like a partnership).

         6.           Argosy is a California not for profit limited liability company. Its sole member is

DCEH Argosy University of California, LLC. DCEH Argosy University of California, LLC's

sole member is DCEH. As noted, DCEH's sole member is Dream Center Foundation, a

California nonprofit corporation with its principal place of business in Los Angeles, California.

Therefore, Argosy is a citizen ofthe State of California.

                                      JURISDICTION AND VENUE

         7.           This Court has original diversity jurisdiction over this matter under 28 U.S.C. §

1332(a) in that this is a suit between citizens of different States and the amount in controversy

exceeds $75,000.


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         8.           Venue is proper in this district under 28 U.S.C. § 1391 because a substantial part

of the events or omissions giving rise to the claims in the Complaint occurred in this district and

because SUO's principal place of business is in this district.

                                  FACTS COMMON TO ALL COUNTS

         9.           In January 2013, One on One Marketing, LLC ("One on One") entered into the

DoublePostive Online Marketing Agreement for EDMC Institutions (the "Agreement")(attached

as Ex. A) with DoublePositive Marketing Group, Inc.("Dr)and Education Management, LLC

("EDMC").

         10.          One on One subsequently assigned its rights and obligations under the Agreement

to DMS. Likewise, EDMC subsequently assigned its rights and obligations under the Agreement

to DCEH.

         11.          DCEH is the holding company for SUO and two university systems: Argosy

Universities and a group of Art Institutes (collectively, the "Universities"). Argosy is the parent

company for the Argosy University system.

         12.          The Universities primarily serve what might be deemed non-traditional students

like unemployed (or underemployed) adults who are seeking to obtain particularly marketable

job skills to gain new careers with higher wages.

         13.          Pursuant to the Agreement,DMS agreed to generate for DCEH,SUO,Argosy and

others identity and contact information for prospective students for the Universities. In other

words,DMS agreed to source leads for DCEH and its affiliates.

         14.          DMS did so. During the course of the Agreement, DMS generated many leads for

DCEH and the Universities. Specifically, DMS generated leads for SUO and Argosy.




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         15.          Under the Agreement, DCEH agreed to pay DMS fees for each qualified lead that

DMS generated and the reasonable billing rates of DMS.

         16.          DCEH agreed to pay DMS's invoices within 30 days.

         17.          Between August 2018 and November 2018, DMS issued 21 invoices to DCEH

and the Universities. These invoices total the sum of $252,737.

         18.          Despite DMS's demand for payment, DCEH and the Universities have failed to

pay.

                                              COUNT ONE
                                           (Breach of Contract)

         19.          DMS incorporates by reference the allegations contained in the preceding

paragraphs of this Complaint as if fully rewritten.

         20.          DCEH contracted with DMS for the generation of lead information, which

constitutes a binding and enforceable agreement between the parties.

         21.          DMS performed all of its obligations under the contract.

         22.          DMS issued many invoices to DCEH to collect payment, but it has not received

payment for the last 21 invoices.

         23.          To date, DCEH and the Universities have a balance due and owing of $252,737.

         24.          Despite demand for payment, DCEH has refused to pay DMS and therefore, it has

breached the terms of the Agreement.

         25.          As a direct and proximate result of DCEH's breach, DMS has been damaged in

the amount of $252,737, plus interest, costs, and expenses.




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                                            COUNT TWO
                                       (Balance Due on Account)

         26.          DMS incorporates by reference the allegations contained in the preceding

paragraphs ofthis Complaint as if fully rewritten.

         27.          DCEH owes DMS the sum of $252,737 on account for the lead generation

services provided by DMS to DCEH.

         28.          DMS has demanded payment on account but, to date, DCEH has refused to pay

the balance due and owing.

         29.          As a direct and proximate result of DCEH's breach, DMS has been damaged in

the amount of$252,737, plus interest, costs, and expenses.

                                            COUNT THREE
                                          (Unjust Enrichment)

         30.          DMS incorporates by reference the allegations contained in the preceding

paragraphs ofthis Complaint as if fully rewritten.

         31.          At DCEH's request and for its benefit and the benefit of Argosy and SUO,DMS

provided services(lead generation)to DCEH,Argosy, and SUO.

         32.          DCEH,Argosy, and SUO have knowledge ofthese benefits.

         33.          Retention ofthese benefits by DCEH,Argosy, and SUO without payment to DMS

would be unjust.

         34.          As a direct and proximate result of DCEH's breach, DMS has been damaged in

the amount of$252,737, plus interest, costs, and expenses.

                                            COUNT FOUR
                                      (Appointment of a Receiver)

         35.          DMS incorporates by reference the allegations contained in the preceding

paragraphs of this Complaint as if fully rewritten.
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         36.          This Court has the power to grant ancillary relief, including the appointment of a

receiver.

         37.          This Court has the power to appoint a receiver whenever such appointment is

deemed necessary. Here, a receivership is warranted because it is the only mechanism that serves

to protect all interested parties: specifically the students who would otherwise face suddenly

shuttered schools, creditors who would otherwise face recovering far less as the enterprise value

is destroyed, and taxpayers who would otherwise face the burden of tens of millions of dollars of

canceled student loans arising out of suddenly shuttered schools. The key to protecting the

students, creditors, and taxpayers revolves around DCEH schools remaining eligible to receive

Title IV monies to be used to pay operating expenses, pay creditors, and provide the educational

services to the students. A bankruptcy would end that eligibility, resulting in exceptional and

immediate harm to the students, and the inability of the enterprise to maximize its value for the

benefit of its creditors, students, and other interested parties. A Receivership, however, would

allow the valuable assets to be sold at non-distressed prices, a proper teach-out for the students,

and appropriate wind-up ofthe dozens of entities owned by DCEH,including SUO and Argosy.

         38.          DMS believes that DCEH, its related subsidiary entities, the students at the

Universities, and the creditors of DCEH and the Universities will suffer immediate and

irreparable harm unless a receiver is immediately appointed.

         39.          DMS urges the Court for the immediate appointment of Mark Dottore of Dottore

Companies, LLC to serve as Receiver with the powers and authority described in the Emergency

Motion for Appointment of Receiver and proposed order filed contemporaneously with this

Complaint.




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         WHEREFORE,DMS prays that this Court enter judgment in DMS's favor and against

DCEH, Argosy, and SUO upon the Complaint, and that it be awarded attorneys' fees and such

other relief as this Court finds just and equitable.

                                                       Respectfully submitted,

                                                       Is/ Audrey K. Bentz
                                                       STEVEN G. JANIK (0021934)
                                                       AUDREY K.BENTZ(0081361)
                                                       JANIK L.L.P.
                                                       9200 South Hills Blvd., Suite 300
                                                       Cleveland, Ohio 44147
                                                       Phone:(440)838-7600 * Fax:(440)838-7601
                                                       Email: Steven.Janik@janiklaw.com
                                                              Audrey.Bentzganiklaw.com

                                                       Counselfor Plaintiff




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STATE OF FLORIDA                            )
                                            )    VERIFICATION
COUNTY OF lilidac                           )

       I, JOE MARINUCCI,being over the age of majority and sworn according to law,say and

depose as follows:

       1.     I am the CEO of Plaintiff Digital Media Solutions, Inc.("DMS").

       2.     In my capacity as CEO ofDMS,I have read the foregoing Verified Complaint,and

the factual allegations contained therein are true and accurate to the best of my personal

knowledge,information, and belief.

                    JESSICA ROGERS
               MY COMMISSION N CiG 032501
               EXPIRES:September 21,2020
              &MatTM Wary Public Underwrite-1
                             e                    JOE     RINU CI


       Sworn to and subscribed before me this   1 b      day ofJanuary, 2019.




                                                           blic, S i:te o Florida
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               DOUBLEPOSITIVE ONLINE MARKETING AGREEMENT
                         FOR EDMC INSTITUTIONS

       This DoublePositive Online Marketing Agreement for EDMC Institutions (this
"Agreement")is by and among DoublePositive Marketing Group,Inc., a Delaware corporation
("DP"), having a place of business at First Mariner Building, 1501 S. Clinton Street, Suite 1520,
Baltimore, MD 21224,Education Management LLC,a Delaware limited liability company
(together with its subsidiaries and affiliates,"EDMC"),having a place of business at 210 Sixth
Avenue,33rd Floor, Pittsburgh,PA 15222, and the party executing this Agreement on the
signature page hereof as the Vendor("Vendor"), and is effective as ofthe later ofthe date on
which it is signed by DP,EDMC and Vendor(the "Effective Date). DP,EDMC and Vendor are
each referred to herein as a "party," and collectively, as the "parties"_.

       WHEREAS,DP and EDMC are parties to a Master Strategic Marketing Agreement(the
"SMA")pursuant to whieh,among other things, DP is to acquire Qualified Leads(as hereinafter
defined)for the benefit ofEDMC's educational institutions(the"EDMC Institutione);

       WHEREAS,Vendor is in the business of providing marketing and advertising services,
        the generation ofLead Contact Information(as hereinafter defined); and

      WHEREAS,DP,EDMC and Vendor.desire to enter into this Agreement under which
Vendor will supply to DP the services described in this Agreement so that DP can provide to
EDMC the services described in the SMA.

        NOW,THEREFORE,in consideration ofthe covenants and agreements contained
herein, and other good and valuable consideration, the receipt and sufficiency ofwhich are
hereby acknowledged,the parties agree as follows:

L      DEFINITIONS

        As used in this Agreement,the following capitalized terms shall have the meanings set
forth below. Other terms are definedin the text of this Agreement and,throughout this
Agreement, those terms shall have the meanings respectively ascribed to them.

        1.1     Duplicate Lead — Lead Contact Information provided by Vendor to DP that is
duplicative in any material respect to information received by EDMC(for any EDMC
Institution)from any source (including, without limitation,from the Vendor,from DP and from
direct contact with EDMC)within the one hundred eighty(180)day period prior to (including
prior to the Effective Date)the delivery ofsuch Lead Contact Information by Vendor to DP.
Vendor acknowledges and understandsthat any determination by DP as to whether Lead Contact
Information constitutes a Duplicate Lead shall be final and binding on Vendor.

       1.2     EDMC Creative Content — Graphical and text images, graphical and text
newsletters, printed material, documents, marks,logos, videos, electronic recordings,
photographs, slides, themes, scripts, micro-sites, websites and other materials that are(a)
generated by or for Vendor solely for the benefit ofDP and/or EDMC under this Agreement,(b)
generated by or for Vendor solely for the benefit ofDP and/or EDMC so as to generate Lead



                                                                                       EXHIBIT A
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Contact Information, or(c) generated by or for Vendor solely for the benefit,ofDP and/or
EDMC using EDMC Content(defined below).

        1.3     False Lead — Any Lead Contact Information that:(a)is patently false or
misleading;(b)is determined by DP or EDMC to contain false or misleading information;(c)is
determined by DP or EDMC to be the result ofa multiple-submit error(defined as submitting the
same information more than once within a 24-hour period);(d)is fraudulently developed (e.g.,
(i)not deriv.ed from an individual who actually and purposely requested information from an
educational institution,(ii)lead delivery to DP was intentionally delayed, and (iii) re-submission
ofpreviously submitted Lead Contact Information by Vendor when said re-submission does not
originate from the individual, unless approved in advance by DP);(e)relates to an individual
under the age ofthirteen (13);(f)relates to an individual who cannot be contacted by telephone
based on the information provided;(g)relates to an individual who is not interested in
educational products or services;(h)relates to an individual(the "Subjecr) whose telephone
number is answered by a person(which may be the Subject or may be another person) who
denies that the Subject may be contacted at such telephone number or who provides other false
information about the Subject; or(i) is acquired or generated in violation ofthe terms ofthis
Agreement.

        1.4    Incentivized Lead —Any Lead Contact Information that is generated from an
incentivized advertising or incentivized registration process, including, but not limited to,lead
generation from a source related to an employment opportunity or from a source related to an
educational scholarship. For the avoidance of doubt, marketing and advertising prograrns that
employ "pseudo-incentivizee registration offers (e.g., with language that is not clear and
conspicuous,the user is informed (i)that the user should complete the form only ifhe or she has
a genuine interest in the offer presented and/or (ii)the user will not receive any additional
rewards for filling out the information) will be considered co-mingling ofincentivized
advertising and school marketing and will constitute an Incentivized Lead,regardless ofany
corresponding disclosure.

        1.5     Insertion Order - Any order for Qualified Leads or Qualified Transfers pursuant to
this Agreement. Each Insertion Order shill be in the form provided to Vendor by DP from time
to time (as it may be amended by DP from time to time). In the event of any conflict between
this Agreement and an Insertion Order,the provisions ofthe Agreement shall control unless
modified in the Insertion Order in writing with reference to the specific section ofthis
Agreement that is being modified.

        1.6    Intellectual Property — All intellectual property, including, but not limited to,
patents,trademarks,trade dress, copyrighted works or any other proprietary information owned
or licensed by DP or EDMC and provided to. Vendor solely for purposes ofthis Agreement,
including, but not limited to, the EDMC Content and the EDMC Creative Content.

        1.7    Lead Contact Information — Identity and contact information provided by Vendor
to DP for any individual interested in potentially obinining goods or services from an EDMC
Institution.
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        1.8     Permissible_Pavment Terms — Under this Agreement,Permissible Payment Terms
shall mean:(a)A reasonable flat fee per Qualified Lead that includes contact information for a
prospective student where such fee is not based on:(i) any addition& conduct or action by the
third party or the prospective student, such as participation in preadmission or advising activities,
scheduling an appointment to visit the enrollment office or any other office ofthe institution or
attendance at such an appointment, or the signing, or beinginvolved in the signing, ofa
prospective student's enrollment agreement or financial aid application;; or (ii) the
 number of students (calculated at any point in time ofan education& program) who apply for
enrollment are awarded financial aid, or are enrolled for any period oftime,including through
completion ofan educational program, at an EDMC Institution;(b)a reasonable flat fee for
services that is based solely on Vendor's costs associated with providing services under this
Agreement, plus a percentage ofthose costs to provide the third party reasonable profit under the
agreement, provided such flat fee is not based directly or indirectly on measures related to actual
or anticipated enrollments in EDMC Institutions;(c)reasonable assigned billing rates Vendor; or
(d)payment terms approved in advance by EDMC. Notwithstanding anything to the contrary
contained herein, payment terms which are per impression (i.e., did the ad appear) and/or per
click constitute Permissible Payment Terms.

      1.9    Person or person— Any individual, corporation, partnership, limited liability
company,trust, estate or other entity.

        1.10 Oualified Lead — Lead Contact Information for a unique individual that(i)is
delivered to DP in real or near real time oflead generation(lead generation for this purpose
means the period oftime between the original submission click by the prospective student and
the time that the Lead Contact Information reaches DP's lead processing system);(ii)includes a
request for information regarding an EDMC Institution or was generated for the sole purpose of
obtaining information regarding an EDMC Institution;(iii)is not a False Lead;(iv)is not a
Duplicate Lead;(v)is not an Incentivized Lead;(vi) meets the mhiimum high school graduation
year requirement and/or the highest education level requirement for the applicable school
location and program ofinterest;(vii)contains all ofthe folloWing data elements (all of which
must be accurate in all material respects): first and last names; street address; city, state and
zip/postal code; email address(individual must be able to receive emails at this address); primary
telephone number(telephone number must be in service at the time the telephone number is first
dialed by DP,EDMC or any agent ofDP or EDMC;the following will not qualify: fax number
instead oftelephone number; special information tone; wrong party; and/or otherwise invalid
telephone number); year ofhigh school graduation/highest education level attained; program of
interest; and location ofinterest;(viii)is properly coded by Vendor using the coding
requixements provided to Vendor by DP from time to time;(ix)contains such additional data
elements as DP may require from time to time upon notice to Vendor; and(x)contains such
other information and/or meets such other requirements as may be required by the applicable
Insertion Order. Vendor acknowledges and understands that(1)DP and/or EDMC may verify or
confirm that Lead Contact Information constitutes a Qualified Lead and/or(2)DP and/or EDMC
may engage one or more third party service providers to verify or confirm that Lead Contact
Information constitutes a Qualified Lead and/or to determine Vendor's compliance with the
terms ofthis Agreement. Any deterniination by any DP,EDMC and/or such third party service
proyider that Lead Contract Information does not constitute a Qualified Lead shall be conchisive
and binding on Vendor.




                                                 3
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        1.11 Ounlified Transfer — A Qualified Lead whereby the person who is the subject of
the Qualified Lead is call transferred to EDMC from Vendor or a Vendor agent

         1.12 Sinificant Regulatory Event —(a)any notice or other communication(in writing
or otherwise)from any governmental or nongovernmental entity or any other person regarding
any actual, alleged, possible or potential violation of or failure to comply with any federal, state,
foreign, and/or accrediting agency laws,rules, and/or regulations and(b) any threatened or
pending investigation, audit, or review with respect to compliance with any federal, state,
foreign, and/or accrediting agency laws,rules, and/or regulations,in both cases including but not
limited to any action under the civil False Claims Act, 31 U.S.C. § 3729 et seq. or any shnilar or
successor statute, the Higher Education Act of 1965, as amended,or any similar or successor
statute, and any state consumer protection law.

       1.13. Source Data — Information solicited by Vendor and generated,input or otherWise
transmitted by end users yielding Lead Contact Information, Qualified Leads and/or Qualified
Transfers pursuant to this Agreement.

        1.14 Vendor Creative Content - Graphical and text images, graphical and text
newsletters, printed material, documents, marks,logos, videos, electronic recordings,
photographs, slides,themes, scripts, micro-sites, websites and other materials that are directly or
indirectly used by Vendor or any Vendor Subcontractor to generate Lead Contact Information
and which does not constitute EDMC Creative Content. Upon request, Vendor Shall provide DP
with a copy ofthe Vendor Creative Content.

        1.15 Vendor Subcontractor — Each of Vendor's publishers, affiliates, partners,
suppliers and/or subcontractors (collectively,the "Vendor SubcOntractors").

2.     OWNERSHIP AND USE OF EDMC CONTENT

        2.1     DP or EDMC may provide information to Vendor regarding the EDMC
Institutions for use by Vendor in generating EDMC Creative.Content, Vendor.Creative Content
and/or in generating Lead Contact Information. This information may include Intellectual
Property, specifications, descriptions, special promotions,logos, claims, creative material,
privacy statements and any other appropriate marketing content(such information,together with
any other creative element(s)provided by DP or EDMC to Vendor pursuant tO this Agreement is,
referred to herein as"EDMC Content"). Under no circumstances shall Vendor sell, lease, assign,
sublicense, use, disclose or transfer the EDMC Content except as expressly provided in this
Agreement

        2.2     Vendor shall provide the EDMC Creative Content to DP for approval. IfDP or
EDMC rejects any EDMC Creative Content, Vendor will revise and submit the revised EDMC
Creative Content until approval has been secured. Vendor shall not use any EDMC Creative
Content until it is approved by EDMC or DP. DP and EDMC reserve the right to reject any and
all EDMC Creative Content for any reason or no reason. The approved EDMC Creative Content
shall not be used by Vendor or any other Person except for the purposes contemplated by this
Agreement
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        2.3    A11 EDMC Creative Content and all Vendor Creative Content must comply with
(a)the terms ofthis Agreement,(b)all.applicable laws,rules and regulations, and(c) all policies
and procedures provided by DP or EDMC to Vendor from time to time (collectively,the
"Marketing Policies and Procedures"); provided, however,that DP or EDMC will provide
Vendor with at least three(3)days prior notice ofany new Marketing Policies and Procedures or
any change to existing Marketing Policies and Procedures. The Marketing Policies and
Procedures include, without limitation,the poliCies and procedures included in the publication
titled "EDMC — Education Management Corporation - Business Practices Committee Marketing
Compliance Handbook" and"EDMC's Partner's Guide to Proactive Compliance," as each may
be amended from time to time (copies of which have been provided to Vendor).

         In addition, and without limiting the -prior paragraph, Vendor further agrees that the
quality ofall its and the Vendor Subcontractors' advertising, marketing and/or promotion using
the EDMC-Content, the EDMC Creative Content and/or the Vendor Creative Content(including
any websites used in connection therewith) will be at a level determined to be acceptable to DP
and/or EDMC in its reasonable judgment and,in any event, at a level at least as high as industry
standards. Without limiting the generality ofthe foregoing sentence,for purposes ofthis
Agreement, any website which a reasonable person would consider pomographic, obscene,
libelous, profane, exploitative of a minor, expressing hate or tending to,ridicule or embarrass, or
that is abusive, offensive, defamatory or harassing, or which violates or encourages others to
violate any applicable law,is not acceptable to DP and EDMC. Ifthe quality of Vendor or any
Vendor Subcontractor's advertising, marketing and/or promotion using the EDMC Content,the
EDMC Creative Content and/or the Vendor Creative Content(including any websites used in
connection therewith)is not acceptable to DP or EDMC in its reasonablejudgment,DP or
EDMC may provide notice to that effect to Vendor(which notice shall identify the offending
advertising, marketing and/or promotion (and/or websites). Upon receipt of such a notice,
Vendor will cease any such advertising, marketing and/or promotion(and/or use ofany such
websites) within three(3)business days. For the avoidance of doubt, Vendor shall not be
deemed to have violated or breached this paragraph ifit complies with the prior sentence.

        A violation or breach by Vendor or any Vendor Subcontractor ofthis Section 23 is
referred to herein as a"Marketing Violation." Vendor agrees to work in good faith work to
immediately correct any Marketing Violation. Upon each Marketing Violation,DP or EDMC
may notify the Vendor ofthe Marketing Violation by a notice substantially in the form attached
hereto and incorporated by reference herein as Schedule B.

        2.4     Any amounts owed by EDMC to Vendor during a month pursuant to this Agreement
shall be discounted by one percent(1%)for each Marketing Violation by Vendor during such month
for which DP or EDMC send Vendor the notice in the form attached hereto and incorporated by
reference herein as Schedule B. Notwithstanding the foregoing,the total discount for Marketing
Violations for any given billing cycle may not exceed ten percent(10%). This Section 2.4 shall not
limit any rights or remedies that may be available to DP or EDMC due to a breach by Vendor of
Section 2.3.

      2.5    Vendor will correct all errors in EDMC Content,EDMC Creative Content or
Vendor Creative Content brought to its attention within one(1)business.day. Vendor further
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agrees notto use DP's or EDMC's name or any derivative thereoffor or in a website address(or
41.IRL") without DP's written permission.
"

         2.6       All EDMC Creative Content chall be considered "works inade for hire as
defined in the United States.Copyright Act, 17 U.S.C. § 101 et seq. for EDMC and, accordingly,
all copyright interest in and to the EDMC Creative Content shall belong exclusively to EDMC.
To the extent that ownership of any EDMC Creative Content does not automatically vest in
EDMC by virtue ofthis Agreement or otherwise, Vendor hereby irrevocably assigns to EDMC
all right, title and interest in and to such EDMC Creative-Content and all protectable elements,
contributions, enhancements, collective works thereofand derivative works thereto, and agrees
to take all reasonable actions that EDMC or DP requests to ensure that all such rights, title and
interest in the EDMC Creative Content vest in EDMC.

        If Vendor engages or otherwise uses any third party to prepare or to assist in the
preparation ofEDMC Creative Content, Vendor shall have such third party execute a written
agreement providing that all such EDMC Creative Content are "works made for hire as defined
in the United States Copyright Act, 17 U.S.C. § 101 et seq. for EDMC and, accordingly, all
copyright interestin and to the EDMC Creative Content shall belong exclusively to EDMC. The
agreement shall also provide that, in the event the EDMC Creative Content is deemed not to
constitute "works made for hire forEDMC,the third party irrevocably transfers and assigns to
EDMC all rights, title and interest in and to the EDMC Creative Content and all protectable
elements, contributions, enhancements, collective works thereofand derivative works thereto,
and agrees to take all reasonable actions and do all things necessary or desirable to ensure that all
such rights, title and interest in the EDMC Creative Content vest in EDMC. To the extent
Vendor already has these agreements in place, Vendor is not required to use the exact language
ofthis paragraph in its contracts with such third parties in order to satisfy the foregoing
obligation, so long as such alternative language protects EDMC to the same extent as the
language set forth in this paragraph.

       2.7   Schedule A,attached hereto and incorporated by reference herein, sets forth a list
ofEDMC trademarked terms and prohibited keyword terms(`TM Terms"). DP from time to
time may update Schedule A upon at least three(3)days prior notice to Vendor.

         Vendor and the Vendor Subcontractors will not purchase TM Terms or any trademarks or
copyrighted materials ofany third party ("Third Party TM Terms") or any words or terms
("Prohibited Terms")that(a)include any ofthe TM Terms or the Third Party TM Terms
(whether before or after orbetween other words or terms (e.g.,"Art and Institute is prohibited))
or(b)include misspellings, abbreviations, plurals or other derivatives ofthe TM Terms or the
Third Party TM Terms(e.g.,"Art Institutes" is prohibited), on any keyword based directory or
listing services,including without limitation major search engines, vertical subject specific
directories, local search listings where listings are purchased for a flat fee or other Pay-Per-Click
(PPC)or pay-per-action advertising channels. Also, Vendor and the Vendor Subcontractors will
not bid or pay for the use ofthe TM Terms, Third Party TM Terms or the Prohibited Terms in
any paid placement search engine advertising or URL,including, without limitation, use ofthe.
TM Terms,Third Party TM Terms and/or Prohibited Terms in any ad copy that appears as a
result of a keyword search. Accidental or unintended bidding on TM Terms,Third Party TM
Terms or the Prohibited Terms as a result of broad matching is also prohibited (e.g., a breach of
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this Agreement occurs if a search for a generic keyword such as "Atlanta art schoor'yields, as a
result of broad matching,.a Vendor ad .that includes.a TM Term or Prohibited Term such as"The
Art Institute ofAtlante).

       Vendor and the Vendor Subcontractors shall implement exclusionary placement
techniques to prevent the TM Terms,the Third Party.TM Terms and the Prohibited Terms from
being displayed in any search engine result, including, at a minimum,use ofcampaign negative
keyword selections for all TM Terms within all paid placement accounts.

       2.8     A violation by Vendor or any Vendor Subcontractor of Section 2.7 is referred to
herein as a"Trademark Violation." Vendor agrees to work in good faith to correct any
Trademark Violation immediately. Upon each Trademark Violation, DP may notify the Vendor
ofthe Trademark Violation by a notice substantially in the form attached hereto and incorporated
by reference herein as Schedule C.

       2.9      From the time ofnotification by DP or EDMC to Vendor ofthe first(1st)
Trademark Violation during a given month, Vendor will have one(1)business day to correct the
Trademark Violation. For such first(1st) Trademark Violation during a given month for which
Vendor does not make timely corrective action, any amounts owed by EDMC to Vendor during such
month pursuantto this Agreement with respect to Qualified Leads or Qualified Transfers for the
EDMC brand(campus based and online)that is the subject ofthe Trademark Violation shall be
discounted by five percent(5%). For example,if a Trademark Violation that is not timely
corrected during July 2012 relates to EDMC's"Argosy" brand(campus based or online),the
discount will apply to all amounts owed Vendor with respect to Qualified Leads or Qualified
Transfers for EDMC's "Argosy" brand(campus based and online) during July 2012, but no
discount will apply to any amounts owed Vendor with respect to Qualified Leads or Qualified
Transfers for any ofEDMC's other brands.

        From the time of notification by DP or EDMC to Vendor ofa second(2nd)Trademark
Violation during a given inonth, Vendor will have one(1)business day to correct the Trademark
Violation. For such second(2nd)Trademark Violation during a given month for which Vendor
does not make timely corrective action, any amounts owed by EDMC to Vendor during such month
pursuantto this Agreement with respectto Qualified Leads or Qualified Transfers for theEDMC
brand(campus based and online)that is the subject ofthe second Trademark Violation shall be
discounted by five percent(5%)(or an additional five percent(5%)ifthe first Trademark Violation
related to the same EDMC brand).

         Upon notification by DP or EDMC to Vendor ofany Trademark Violation during a given
month after the application ofthe five percent(5%)discounts provided by the prior two
paragraphs,any amounts owed by EDMC to Vendor during such month pursuantto this Agreement
for all EDMC brands shall be discountedhy five percent(5%)for each Trademark Violation. For
example,if Vendor has four(4)Trademark Violations during July 2012 after failing to timely
correct the first two Trademark Violations during July 2012,any amounts owed by EDMC to
Vendor during July 2012 shall be reduced by twenty percent(20%).

       2.10, Notwithstanding anything to the contrary contained herein,provided that Vendor
has complied with the requirements ofthe last paragraph of Section 2.7, a Trademark Violation
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shall not result in a discount-to the amounts owed Vendor where a TM Term,Third Party.TM
Term or Prohibited Term appears as a result ofan unavoidable broad match result, a change in a
PPC provider's algorithm, or other similar event; provided, however,that in any such case,
Vendor's advertisement(e.g, ad unit, text ad, ad copy,logo, etc.)that is served in response to a
search query may not display any MI Texms, Third Party TM Term or Prohibited Terms.

       2.11 Notwithstanding anything to the contrary contained herein, Vendor acknowledges
and agrees that DP will not accept and EDMC,will not pay for any Qualified Leads or Qualified
Transfers from any ofthe Persons listed on Schedule D,attached hereto and incorporated by
reference herein, without prior written approval from DP. DP has the right to update Schedule D.
fromtime to time during the term oftlils Agreement upon at least three(3)days prior notice to
Vendor. Any breach by Vendor ofthis Section 2.11 shall subject Vendor to the provisions of
Section 2.4 ofthis Agreement as ifsuch breach were a Marketing Violation.

       INTELLECTUAL PROPERTY LICENSES

        3.1    Subject to the terms ofthis Agreement and solely for the term ofthis Agreement,
EDMC hereby grants to Vendor a limited,revocable, non-exclusive,non-transferable, royalty-
free, worldwide license to use(a)the EDMC Content and (b)the EDMC Creative Content,
without the right to sublicense except as expressly provided by this Agreement, solely for the
purpose of Vendor perforniing under this Agreement. Subjectto terms ofthis Agreement,
Vendor may sublicense the license granted to it pursuant to this Section 3.1 to the Vendor
Subcontractors.

        Vendor hereby acknowledges and agrees that, and Vendor shall cause each Vendor
Subcontractor to acknowledge and agree that:(a)the EDMC Content and EDMC Creative
Content are the exclusive property ofEDMC,(b)EDMC shall retain ownership ofall rights
whatsoever in the EDMC Content and EDMC Creative Content,(c)Vendor and Vendor
Subcontractors will not remove or destroy any patent, copyright, trade secret, proprietary or other
legends or markings placed upon or contained or embedded within any EDMC Content or
EDMC Creative Content,and(d)Vendor and Vendor Subcontractors shall not challenge or assist
a third party in challenging the validity or ownership ofthe EDMC Content or EDMC Creative
Content. The license granted under this Section 3.1 (and any sublicense granted to a Vendor
Subcontractor) will terminate automatically upon the expiration or termination ofthis Agreement
for any reason.

        Notwithstanding anything to the contrary contained in this Agreement,DP or EDMC
may limit, suspend or terminate such license at any time during the term ofthe Agreement upon
written notice to Vendor. Except for the rights expressly granted herein, Vendor agrees and
acknowledges that this Agreement does not transfer to Vendor or any Vendor Subcontractor or
grant any rights to Vendor or any Vendor Subcontractor in or to the Intellectual Property.

4      LEAD CONTACT INFORMATION, SOURCE DATA AND OPERATIONAL
       SERVICE REOUIREMENTS

       4.1     Vendor agrees that once Lead Contact Information is submitted by the end-user
requesting information from an EDMC Institution, Vendor shall immediately transmit said




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requestto DP -within seventy-two(72)hours, provided that Vendor shall not intentionally
withhold any request to avoid any limits or caps within this Agreement

        4.2    Vendor chall supply all Lead Contact Information in compliance with and in the
format specified by the policies and procedures provided by DP or EDMC to Vendor from time
to time. All information provided by Vendor as to Lead Contact Information quality or status
must be maintained by Vendor in strictest confidence and used only to benefit EDMC.

        4.3     Vendor and each Vendor Subcontractor will maintain Source Data and Lead
Contact Information in accordance with all applicable laws, rules and regulations. Vendor and
each Vendor Subcontractor will maintain and enforce security procedures and standards with
respect to the access and maintenance of data,including Source Data and Lead Contact.
Information, and will provide reasonably appropriate technical and organizational safeguards
against accidental or unlawful destruction, loss, alteration or unauthorized disclosure or access of
data,including Source Data and/or Lead Contact Information. Vendor and each Vendor
Subcontractor will take reasonable security measures(butin no event measures less than,those
considered to be industry,standard)to secure and defend its location and equipment against
"hackere and others who may seek, without authorization,to modify or access computer
systems or the information found therein without the consent of Vendor or Vendor
Subcontractor, as the case may be. Vendor and each Vendor Subcontractor will periodically test
its systems for potential areas where security could be breached. If a security breach occurs,
Vendor and the appropriate Vendor Subcontractor(s) will be responsible for complying with all
applicable laws pertaining to such a security breach. To the extent permitted by applicable law,
Vendor and the appropriate Vendor Subcontractor(s) qball provide DP and EDMC with a copy of
any communication sent in compliance with said laws for approval(which shall not be
unreasonably withheld). If Vendor or a Vendor Subcontractor identifies a deficiency in its
security procedures and standards,then such Person shall immediately notify DP and EDMCin
writing.

       4.4     Vendor and each Vendor Subcontractor will:(a)disclose to all individuals who
submit Source Data(prior to submission):(i)that all personal information collected will be
Rhared with EDMC and its affiliates and agents(including DP); and (li) how all personal
information will be used;(b)comply with any and all implicit or explicit privacy representations
made to such individuals regarding the use oftheir personal information;(c)obtain express
consent for any use, disclosure and/or processing ofthe personal information from any non-US
resident who subrnits Source Data(prior to submission); and(d)include a notice on any and all
websites under such Person's ownership or control stating:'THIS SITE IS RESTRICTED TO
USERS WHO ARE THIRTEEN(13)YEARS OF AGE OR OLDER" or substantially similar
language.

       4.5      Vendor agrees that all employees and agents of Vendor or any Vendor
Subcontractor who perform services in connection with or related to this Agreement char' have
the proper skill, training and background so as to be able to perform in a competent and
professional manner and in accordance with generally accepted industry practices. Vendor agrees
to remove and to cause any Vendor Subcontractor to remove from DP and/or EDMC's account
any employee or agent who has engaged in willful misconduct or has committed a material
breach ofthis Agreement immediately after Vendor Or any Vendor Subcontractor becomes aware
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ofsuch breach. Witliin a reasonable period, but not later than thirty(30) days after Vendor's
receipt of notice from DP or EDMC that,in DP or EDMC's reasonable judgment,the continued
assignment to DP and/or EDMC's account of any employee or agent is not in the best interests of
DP and/or EDMC,Vendor Nhall remove or shall cause the Vendor Subcontractor to remove such
employee or agent from DP and/or EDMC's account. Nothing in this Section 4.5 shall be
deemed to require Vendor or any Vendor Contractor to terminate the employment or
independent contractor relationship ofsuch employee or agents. Vendor or the Vendor
Subcontractor will assume all costs and expenses associated with the replacement of any
employee or agent, whether requested by DP,EDMC or otherwise, including costs and expenses
associated with "knowledge transfer," integration and trahiing ofreplacement personneL

5.     REPRESENTATIONS AND WARRANTIES

       5.1    Representations and Warranties and Covenants of Vendor. Vendor represents and
warrants to DP and EDMC,as ofthe Effective Date and during the term ofthis Agreement,
and/or covenants and agrees that:

       (a) Vendor and each Vendor Subcontractor is duly organized, validly existing and in
good standing  and is duly qnalified and licensed to do business and to carry out its and their
obligations under this Agreement, and that the execution, delivery and performance ofthis
Agreement does not violate any existing agreement to which Vendor or any Vendor
Subcontractor is a party or by which Vendor or any Vendor Subcontractor is bound;

     (b)Vendor has all right, title and interest necessary to grant the licenses granted by
Vendor under this Agreement(ifany);

       (c) Vendor and/or each Vendor Subcontractor's services under or in connection with this
Agreement,including,but not limited to,the EDMC Creative Content(if any)and the Vendor
Creative Content, and the use of either by EDMC or DP,do not and will not infringe, violate or
misappropriate any third party's intellectual property rights,including but not limited to (i)
violations ofthe LanhamAct,(ii) infringement ofany patents,trademarks,trade dress, and/or
copyrights, and(Hi) misappropriation oftrade secrets;

      (d) Vendor will not use or allow any third parties to use the EDMC Content or the EDMC
Creative Content(if any)for purposes other than fulfilling Vendor's obligations under this
Agreement without express written permission from EDMC;

        (e)the EDMC Creative Content(if any) and the Vendor Creative Content will not be
false or misleading (including,but not limited to, containing misrepresentations, misleading
omissions, or false statements) and will not contain any content that is in any way libelous,
harmful, obscene, harassing, or racially, ethnically, or otherwise objectionable to a reasonable
person;

       (f)the content and other deliverables produced by Vendor for DP or EDMC(if any)do
not and will not contain any viruses, Trojan horses, worms,time bombs,spyware or other
malware or any other computer programming devices that may damage in any material respect
DP's or EDMC's systems or data, extractinformation from DP's or EDMC's systems or data or
prevent DP or EDMC from operation or use ofits systems or data in the ordinary course;



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       (g)Vendor and each Vendor Subcontractor, and all activities of Vendor and each Vendor
Subcontractor related to telemarketing,Internet marketing, Vendor's business and each Vendor
Subcontractor's business and/or this Agreement, does not and will not violate any applicable
foreign,federal, state and/or local laws,rules or regulations,including, but not limited to, The
Federal CAN-SPAM Act of2003,the Granim-Leach-Bliley Act, the Telemarketing and
Consumer Fraud andAbuse Prevention Act,the Telemarketing Sales Rule, any laws,rules or
regulations relating to unsolicited electronic or text advertisements or messages, any other state
or federal consumer protection law, the -I-figher Education Act of 1965, as amended,including,
without limitation, prohibitions on misrepresentation, and any laws,rules and regulations
pertaining to student educational records and privacy,including, without limitation, the Family
Educational Rights and Privacy Act,20 U.S.C. § 1232g, and regulations thereunder at 34 CFR
Part 99;

       (h)except as expressly authorized by DP or EDMC in writing, Vendor and the Vendor
Subcontractors will not make any representations, warranties or other statements concerning DP
or.EDMC to any Person;

       (i) Vendor and the Vendor Subcontractors will not make any statement to an individual
(verbally, electronically or otherwise)which states or implies that the individual is guaranteed to
receive information from EDMC,to be enrolled in or admitted to any EDMC Institution, or to
receive any other benefit or opportunity from EDMC or any EDMC Institution, including but not,
limited to fmancial assistance;

       (j) Vendor and the Vendor Subcontractors do not and will not charge consumers any fee
in connection with or in any way related to the consumers' receipt ofinformation regarding
EDMC (e.g.,the Vendor or a Vendor Subcontractor may not charge consumers a fee for entering
selfrqported personal information on Vendor's WebSite or the Vendor Subcontractor's website);

       (k)Vendor and the Vendor Stibcontractors are solely responsible for excluding from any
telemarketing call, text message or email those customers who opted out of receiving such from
Vendor or Vendor Subcontractor, as applicable, or from DP or EDMC(information regarding
opt outs from DP or EDMC is available by checking the suppression file at the location
designated to Vendor by DP or EDMC from time to time);

         (1) Without limiting the generality ofSection 5.1(a)through (k), Vendor further
represents and warrants that it and each Vendor Subcontractor is familiar with the federal, state
and/or accrediting agency laws,rules and/or regulations relating to the compensation ofpersons
engaged in student recruiting activities, as each may be amended from time to time,including
without limitation those set forth in the federal H.igher Education Act at 20 U.S.C. Section
1094(a)(20) and in regulations promulgated by the U.S. Department ofEducation at 34 C.F.R.
Section 668.14(b)(22), and Vendor represents, warrants, covenants and agrees that it does and
will continue to compensate all ofits employees and agents, and that each Vendor Subcontractor
does and will continue to compensate all ofthe Vendor Subcontractor's employees and agent,in
strict compliance with all such laws,rules and/or regulations and in such a manner that neither
EDMC nor DP (to the extent such laws, rules and/or regulations are applicable to DP)will be in
violation ofany such laws,rules and/or regulations as a result ofthe activities of Vendor or any
Vendor Subcontractor;




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        (m) Vendor and the Vendor Subcontractors(a)have not beenterminated under section
432 ofthe Higher Education Act of 1965 for axeason involving the acquisition, use, or
expenditure offederal, state, or local government funds,(b)ha.ve not been administratively or
judicially determined to have committed fraud or any other material violation oflaw involving
federal, state, or local governmentfunds, and(c)shall not assign any individual to perform
services under this Agreement who has been(i) convicted of, or pled nolo contendere or guilty
to, a crime involving the acquisition, use, or expenditure offederal, state, or local government
funds or (ii) administratively or judicially determined to have committed fraud or any other
material violation oflaw involving federal, state or local government funds. Vendor or Vendor
Subcontractor, as applicable, shall notify DP and EDMC immediatelyifVendor or Vendor
Subcontractor, as applicable,is terminated under section 432 ofthe Higher Education Act of
1965 for a reason involving the acquisition, use, or expenditure offederal, state, or local
government funds oris administratively or judicially determined to have committed fraud or any
other material violation oflaw involving federal, state or local government funds;
        (n) Neither Vendor nor any Vendor Subcontractor has been, or had any principal or
affiliate(as the terms "principar and "affiliate' are defined in 2 C.F.R. pts. 180 and 3485,and as
they were defined prior to April27,2012 in 34 C.F.R. pt. 85)that has been, debarred or
suspended under Executive Order 12549(3 C.F.R., 1986 Comp., p. 189)or the Federal
Acquisition Regulations,48 C.F.R.pt 9,subpt. 9.4, or engaging in any activity that is a cause
under 2 CFR § 180.700 or § 180.800(or a cause under 34 C.F.R. § 85305 or § 85.405 prior to
April 27,2012), as adopted at 2 C.F.R. § 3485.12,for debarment or suspension under Executive
Order 12549(3 C.F.R., Comp., p. 189) or the Federal Acquisition Regulations, 48 C.F.R. pt 9,
subpt 9.4, and Vendor or Vendor Subcontractor, as applicable, shall notify DP and EDMC
immediately if Vendor or Vendor Subcontractor, or any principal or afftliate of Vendor or
Vendor Subcontractor, has been so debarred or suspended;
      (o) Vendor and Vendor Subcontractors shall notify DP and EDMC immediately
regarding any Significant Regulatory Event; and
       (p) Vendor may use. Vendor Subcontractors to perform services under this Agreement
for Vendor; provided,however,that Vendor 41011 be responsible for any act or omission ofsuch -
Vendor Subcontractors under this Agreement and for performance under this Agreement by such
Vendor Subcontractors.
        52      Representations and.Warranties ofDP. DP represents and warrants to Vendor as
ofthe Effective Date and during the term ofthis Agreement, and/or covenants and agrees that
(a)DP is duly organized, validly existing and in good standing and is duly qualified and licensed
to do business and to carry out its obligations under this Agreement, and that the execution,
delivery and performance ofthis Agreement does not violate any existing agreement to which
DP is a party or by which DP is bound; and(b)DP has all right, title and interest necessary to
grant the licenses granted by DP to Vendor under this Agreement(if any).

        5.3    Representations and Warranties ofEDMC.EDMC represents and warrants to
Vendor as ofthe Effective Date and during the term ofthis Agreernent, and/or covenants and
agrees that:(a)EDMC is duly organized, validly existing and in good standing and is duly
qualified and licensed to do buSiness and tO carry out its obligations under this Agreement,and
that the execution, delivery and performance ofthis Agreement does not violate any existing
agreement to which EDMC is a party or by which EDMC is bound; and(b)EDMC has all right,




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    title and interest necessary-to grant the licenses granted by EDMC to Vendor under this
    Agreement(if any).

        EXCEPT AS EXPRESSLY PROVIDED HERElN,DP AND EDMC MAKE NO
   WARRANTIES(INCLUDING NON-INFRINGEMENT AND THE IMPLIED WARRANTIES
   OF MERCHANTABILITY OR HTNESS FOR A PARTICULAR PURPOSE),GUARANTIES,
   REPRESENTATIONS,PROMISES,STATEMENTS,ESTIMATES,CONDITIONS OR
   OTHER INDUCEMENTS,OF ANY KIND,EXPRESS,IMPLIED,ORAL,WRITTEN OR
   OTHERWISE.

   6.      INSERTION'ORDERS;PAYMENT

          6.1    From time to tiine during the term ofthis Agreement,DP may deliver Insertion
   Orders to Vendor. DP reserves the right to modify an Insertion Order at any thne upon notice to
   Vendor, and such modified Insertion Order shall become effective immediately upon receipt by
   Vendor.

           6.2    If Vendor determines that the number of Qualified Leads or Qualified Transfers
   will exceed the targets set forth in the applicable Insertion Order("Excess Leads"), Vendor shall
   notify DP pgLn:to the date when over-delivery is anticipated. Upon receipt of such notice, DP
   shall notify Vendor that DP either authorizes or does not authorize Vendor to deliver such
   Excess Leads(such authorized Excess Leads are referred to herein as "Approved Excess Leads")
   to DP. EDMC shall have no obligation to pay Vendor for Excess Leads,even if delivered to
   DP,unless the Excess Leads constitute Approved Excess Leads.

         6.3     The fees to be paid by EDMC to Vendor will be set forth in each Insertion Order
  and shall comply with definition ofPeffaissible Payment Terms in this Agreement. EDMC may
  pay Vendor a fee for each Qualified Lead generated by Vendor during the term ofthis
  Agreementif and only ifthe Vendor or any Vendor Subcontractor is engaged in no student
  recruitment or admissions activities, which include -but are not limited to targeted information
  dissemination to individuals, solicitations to individuals, and direct oral communications with
  prospective students regarding EDMC or any EDMC Institution. EDMC will only pay for
f QuAlified Leads or Qualified Transfers;EDMC shall not be obligated to pay for any False Leads,
  Incentivized Leads or Duplicate Leads. Nothing contained herein shall limit DP or EDMC from
  using without compensation to Vendor any Source Data and/or Lead Contact Information
  delivered to DP or EDMC associated with(a)non-Qualified Leads or non-Qualified Transfers or
  (b)Excess Leads that do not constitute Approved Excess Leads. UNDER NO
  CIRCUMSTANCES SHALL EDMC PAY OR BE OBLIGATED TO PAY VENDOR BASED
  ON ANY TERMS OTHER THAN THE PERMISSIBLE PAYMENT TERMS(AS DEFINED
  IN SECTION 1.8).

           6.4    Within five(5)business days after the end of each calendar month(each calendar
   month,an "Invoice Period") during the term ofthis Agreement,DP shall deliver to Vendor an
   estimate ofthe Qualified Leads or Qualified Transfers generated by Vendor during the Invoice.
   Period (each, a"Lead Counf). Withinfive(5)business days following receipt ofthe Lead
   Count, Vendor will notify DP of any disputes regarding the Lead Count Any dispute shall be




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resolved by referring to DP's Lead Count unless another resolution is agreed upon in writing by
DP and Vendor.

         6.5    Vendor shall invoice EDMC based on the Lead Count described in Section 6.4.
EDMC chain pay Vendor based on the Lead Count within thirty(30)days after receipt of
Vendor's invoice. EDMC ghall not be required to pay for any Qualified Leads or Qualified
Transfers not reflected on a Lead Count The parties acknowledge and agree that DP may not be
able to determine if a lead generated by Vendor during a month constitutes a Qualified Lead or a
Qualified Transfer until the month after the month during which the lead was generated (e.g.,
leads generated on the last day ofthe a month). Notwithstanding anything to the contrary
contained herein, ifDP determines that alead included in a Lead Count is not a Qualified Lead
or a Qualified Transfer(each, a"Credit Lead"),DP shall provide notice to that effect to Vendor
and if(a)EDMC has not yetpaid for the Credit Lead,EDMC shall not be required to pay for
such Credit Lead, or(b)EDMC has paid for the Credit Lead:(i)EDMC may reduce frozn the
amount it owes Vendor in any subsequent month the cost ofsuch Credit Lead or (ii) at DP's or
EDMC's request, Vendor will refund to EDMC the cost ofthe Credit Lead. For example,if a
lead is received on May 31,included in the Lead Count for May and paid for by EDMC,but is
later determined by DP not to be a Qualified Lead,EDMC may reduce the cost ofthe lead from
the amount otherwise owed.Vendor in a later month. DP will notify Vendor of all Credit Leads
for each month within thirty-five(35)calendar days following the last day ofthe applicable
month. Within five(5)business days following notice ofa Credit Lead, Vendor will notify DP
ofany disputes regarding the Credit Lead. Any such dispute chain be resolved by the parties in
good faith. For the avoidance of doubt, and notwithstanding anything to the contrary contained
in this Agreement,DP shall have no obligation to make any payment to Vendor for Qualified
Leads or Qualified Transfers.

       6.6    All fees paid by EDMC are inclusive ofany sales, use, excise or other taxes or
assessments,ifany,that may be assessed by any governmental authority.

       6.7     Vendor's invoice must mclude the following information, clearly legible,to be
accepted for payment by EDMC:

                6.7.1 Name and address of Vendor;

                6.7.2 Invoice Period (month);

               6.7.3 Brand Designation (e.g., The Art Institute ofPittsburgh — Online DiVisi01.1,   .
Argosy University Online Programs, South University Onlihe)(abbreviations approved by DP
are acceptable);

                6.7.4 Number of Qualified Leads or Qualified Transfers, cost per lead or
transfer, and total fee being invoiced for each source code utilized for submission; and

                6.7.5 Total Qualified Leads or total Qualified Transfers, and total fee for all
source codes.

7.     CONFIDENTIAL INFORMATION




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        7.1     Each of.DP,EDMC and Vendor hereby agree that, during the term ofthis
Agreement and thereafter, except as reqUired to perform its obligations or exercise its rights
hereunder or as permitted by this Agreement,it shall not disclose to any person or otherwise use
or exploit any ofthe Confidential Information(as defined below)ofthe other parties and
hold Confidential Information ofthe other parties in strict confidence. Each party agrees that it
shall notify the disclosing party immediately upon discovery of any unauthorized use or
disclosure ofthe disclosing party's Confidential Information, and shall cooperate in every
reasonable way to assist the disclosing party to regain possession of Confidential Information
and prevent itsfurther unauthorized use and/or disclosure.

        72 -Without limiting the generality ofthe foregoing, except as expressly authorized
by the disclosing party,the receiving party shall:(a)limit access to any Confidential Information
ofthe disclosing party received by the receiving party to its employees, agents, and consultants
who have a need-to-know in connection with the business transactions contemplated under this
Agreement, and only for use in connection therewith;(b)advise its employees, agents, and
consultants -having access to the Confidential Information ofthe disclosing party ofthe
propnetary and/or confidential nature thereof and ofthe obligations set forth in this Agreement,
(c)take appropriate action by instruction with its employees, agents, and consultants having
access to the Confidential Information ofthe disclosing party to fulfill the receiving party's
obligations under this Section;(d)safeguard all Confidential Information ofthe disclosing party
received by the receiving party using at leastthe degree ofcare used by the receiving party in
safeguarding its own similar information or material, but in no event less than a reasonable
amount of care;(e)use all Confidential Infonnation ofthe disclosing party received by the
receiving party solely for purposes of carrying out the,business transactions between the parties
contemplated by this Agreement and for no other purpose whatsoever.

         7.3     For purposes ofthis Agreement,"Confidential Informatioe shall mean all
nonpublic information of disclosing party that should reasonably be understood, because of
legends or other markings, the circumstances of disclosure, or the nature ofthe information
itself, to be proprietary and confidential to the disclosing party, an affiliate ofthe disclosing party
or a third party. "Confidential Informatioe also includes proposals, business plans,financial
information, personnel information and contract information, properties, methods of operation,
software,trade secrets, triventions, discoveries,knowLhow and other intellectual property,
including any information that was disclosed by any party prior to the date hereof as well as
information currently provided and to be provided during the term ofthis Agreement In
addition, and notwithstanding anything to the contrary contained in this Agreement,the terms of
this Agreement shall be deemed the Confidential Information ofDP and EDMC.
Notwithstanding anything to the contrary contained herein other than the prior sentence,
"Confidential Informatioe shall not include any information that(i)is generally known to the
public or to the disclosing party's competitors at the time of disclosure hereunder or thereafter
becomes generally known to the public or to the disclosing party's competitors through no fault
ofthe receiving party;(ii) can be shown by the receiving party to have been in its possession
prior to disclosure hereunder;(iii) is furnished to the receiving party by a third party without
breach ofa confidentiality obligation; or(iv)can be shown by the receiving party to have been
independently developed without reference to Confidential Information of another party.




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        7.4    Except as expressly provided by this Agreement, all Confidential Information
disclosed under this Agreement shall be and remain the property ofdisclosing party. Unless
otherwise provided in this Agreement, Confidential Information in tangible form shall be
returned or destroyed promptly, at the receiving party's option, upon written request or the
termination or expiration ofthis Agreement, and shall not thereafter be retained in any form by
the receiving party,its affiliates, or any employees or independent contractors ofthe receiving
party
        7.5     Each ofDP,EDMC and Vendor hereby acknowledge and agree that a breach of
this Section 7 will cause the disclosing party irreparable injury, which cannot be reasonably or
adequately compensated for with damages in an action at law. Accordingly,in addition to
whatever other rights the disclosing party may have to damages or other reliet such disclosing
party shall be entitled to hijunctive and other equitable reliefin connection with or related to any
such breach (without any requirement to post a bond or other security).

        7.6     Notwithstanding anything to the contrary contained herein, any party may
disclose Confidential Information ofanother party to the extent required to be disclosed by law,
regulation, or other act of governmental authority,provided that, to the extent permitted by
applicable law,the receiving party shall use reasonable efforts to give written notice ofsuch
requirement to the disclosing party as far in advance as possible prior to disclosure. In any such
case,upon the reasonable request ofthe disclosing party and to the extent permitted by
applicable law,the receiving party shall cooperate with the disclosing party (at the disclosing
party's sole cost and expense)in seeking to obtain a protective order with respectto such
Confidential Information.



         8.1     Vendor shall obtain and,maintain at its own cost and expense Advertising
Liability Insurance with statutory limits ofcoverage notless than $5,000,000 per occurrence. If
Vendor's insurance is "claims made",the policy retroactive date shall be effective prior to the
Effective Date and upon termination ofthis Agreement, Vendor shall maintain such insurance
for at least twenty-four(24) months after the termination ofthis Agreement or shall purchase tail
coverage for at least a twenty-four(24)month period. DP may require the Vendor
Subcontractors to maintain the same insurance required of Vendor pursuant to Section 8.1.

        8.2     Upon request, Vendor shall provide to DP all certificates ofinsurance required by
this Section 8. All insurance required by this Section 8 shall name DP and EDMC as additional
insureds. Vendor shall provide DP with ten(10)days advance written notice prior to the
cancellation or material change to any insurance required by this Section 8. The fulfillment of
the insurance obligations in this Section 8 shall not relieve Vendor ofany liability under this
Agreement or Vendor's obligations to indemnify DP,EDMC or any DP/EDMC Affiliated Party
(as defined in Section 9.1) as required by Section 9.

9.     MUTUAL INDEMNIFICATION

        9.1    Vendor shall indemnify, hold harmless, and defend each ofDP and EDMC and,
as appropriate, each ofDP and EDMC's officers, directors, employees, agents, shareholders,




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members, successors and assigns (each, a"DP/EDMC Affiliated Partyl,from any actions,
claims, losses, liabilities, damages,fees, costs and expenses(incblding attorney's fees)(each a
{{Claim")relating to or arising out of(a) Vendor's breach of any ofits representations,
warranties, covenants or agreements contained in this Agreement or(b)personal injury,
wrongful death, or personal property damage proximately caused by the negligence or
intentional trdsconduct of Vendor.

       DP shall indemnify, hold harmless, and defend Vendor and, as appropriate, each of
Vendor's officers, directors, employees, agents, shareholders, members,successors and assigns
from any Claims relating to or arising out of(a)DP's breach ofany ofits representations,
warranties, covenants or agreements contained in this Agreement or(b)personal injury,
wrongful death or personal property damage proximately caused by the negligence or intentional
misconduct ofDP..

       EDMC shall indemnify,hold harmless, and defend Vendor and, as appropriate, each of
Vendor's officers, directors, employees, agents, shareholders, members,successors and assigns
from any Claims relating to or arising out of(a)EDMC's breach ofany of its representations,
warranties, covenants or agreements contained in this Agreement or(b)personal injury,
wrongful death or personal property damage proximately caused by the negligence or intentional
misconduct ofEDMC.

        92      Vendor further agrees to indemnify, hold harmless, and defend all DP/EDMC
Affiliated Parties against any Third Party Claim (defined below)arising from (a)any false or
misleading content(including, but not limited to, misrepresentations, misleading omissions, or
false statements) published by Vendor;(b)any violation ofthe Fligher Education Act,
regulations promulgated by the U.S. Department ofEducation, or, other applicable education
laws or regulations by Vendor; and/or(c)an allegation that its services under this Agreement,
including, but not limited to, the EDMC Creative Contnt(if any)or the Vendor Creative
Content, or the use ofeither by EDMC or DP,infringe, misappropriate or violate any third
party's intellectual property rights, including but not limitedto (i)violations ofthe Lanham Act,
(u)infringement ofany patents, trademarks,trade dress, and/or copyrights, and (iii)
misappropriation oftrade secrets.

        9.3     Upon receiving notice ofa Claim from a Person who is not a party to this
Agreement(a "Third Party Claim"),the party seeking indemnification(the "Indemnified Party")
shall give the indemnifying party(the {{Indemnifying Party")reasonably prompt written notice
thereof after becoming aware ofsuch Third Party Claim,provided, however,that the failure to so
notify the Indemnifying Party will not relieve the Indemnifying Party ofany liability that it may
have to the Indemnified Party, except to the extent that the Indemnifying Party demonstrates that
the defense ofsuch Third Party Claim is prejudiced by the Indemnifying Party's failure to
receive such notice. Such notice shall describe the Third Party Claim in reasonable detail and
include any pleadings or correspondence available to the Indemnified Party. Subject to Section
9.4, the Indemnifying Party shall have the obligation to control the defense ofany Third Claim
Claim. The Indemnified Party, however,shall have the right to approve any settlement ofa
Third Party Claim that purports to be binding on it or include any provisions other than the
payment of monetary damages (including any admissions ofliability or wrongdoing on the part
ofthe Indemnified Party) and to have advisory counsel assist with the defense ofthe Third Party




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Claim at Indemnified Party's own expense. The Indenmified Party will provide all reasonable
assistance requested ofit by the Indemnifying Party.

        9.4     Notwith§tanding anything to the contrary contained in this Agreement,for any
Third Party Claim in which DP,EDMC or a DP/EDMC Affiliated Party is the Indemnified Party
and which relates to the alleged violation of applicable laws, rules or regulations, or for any
Third Party Claim that, in DP's or EDMC's reasonable determination,could adversely affect
DP's or EDMC's ongoing operations in any material respect, DP or EDMC shall have the right
to control the defense ofthe Third Party Claim. Exercising this option shall not relieve Vendor
ofany other obligations imposed upon it as the Indemnifying Party under this Section 9.
However, Vendor shall haVe the right to approve any settlement ofsuch a Third Party Claim that
purports to be binding on it or that requires thepayment of money by Vendor(such approval not
to be unreasonably withheld, conditioned or delayed)and to have advisory counsel assist with
the defense of such Third Party Claim at Vendor's own expense.

10.     LIMITATION OF LIABILITY

      10.1 EXCEPT AS PROVIDED IN SECTION 10.3, VENDOR AGREES THAT THE
AGGREGATE LIABILITY OF DP,EDMC(AND ANY DP/EDMC AFFILIATED PARTY)
TO VENDOR FOR ANY ACTION,DAMAGE,CLAIM,LIABILITY,COST,EXPENSE OR
LOSS(INDIVIDUALLY AND COLLECTIVELY,A "LOSS")IN ANY WAY ARISING OUT
OF OR RELATED TO THIS AGREEMENT SHALL BE LIMITED (I.E, MAY NOT BE
MORE THAN(BUT CAN BE LESS))TO THE LESSER OF (I)THE FEES PAID OR
REQUIRED TO BE PAID BY EDMC DURING THE SIX MONTH PERIOD IMMEDIATELY
PRIOR TO THE MONTH IN WHICH THE MOST RECENT EVENT GIVING RISE TO THE.
LOSS OCCURRED OR (II) $250,000. FOR PURPOSES OF CLARIFICATION,THIS
LIMITATION OF LIABILITY IS AN AGGREGATE LIMITATION OF LIABILITY FOR
THE AGREEMENT.

      102 EXCEPT AS PROVIDED IN SECTION 103,IN NO EVENT SHALL DP,
EDMC OR ANY DP/EDMC AFFILIATED PARTY BE LIABLE TO VENDOR OR TO ANY
OTHER PERSON FOR CONSEQUENTIAL,EXEMPLARY,SPECIAL,INDIRECT,
INCIDENTAL OR PUNITIVE DAMAGES(INCLUDING, WITHOUT LIMITATION,LOST
PROFITS OR OPPORTUNITY COSTS),EVEN IF DP OR EDMC HAS BEEN NOTIFIED OF
THE POSSIBILITY OR LIKELIHOOD OF SUCH DAMAGES OCCURRING OR SUCH
DAMAGES COULD HAVE BEEN REASONABLY FORESEEN BY DP OR EDMC. THE
PROVISIONS OF THIS SECTION SHALL APPLY REGARDLESS OF THE FORM OF
LOSS, WHETHER IN CONTRACT,STATUTE,TORT(INCLUDING, WITHOUT
LIMITATION,NEGLIGENCE).

        10.3 The limitations ofliability set forth in Sections 10.1 and 10.2 shall not apply with
respect to any of the following: (a) Losses associated with DP's or EDMC's indemnification
obligations pursuant to Section 9 as a result of a Third Party Claim or(b)Losses associated with
DP's or EDMC's breach ofSection 7.

11.     TERM,TERMINATION AND EXPIRATION




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         11.1 Unless sooner terminated as otherwise herein provided,the term ofthis
Agmement shall extend from the Effective Date through the later ofJune 30,2013 orthe next
occurring June 30 following the Effective Date unless the parties agree otherwise in writing.
Thereafter, unless sooner terminated as otherwise provided herein,this Agreement shall
automatically renew for additional terms ofone year(July 1 to June 30)unless any party
provides each ofthe other parties notice ofnon-renewal at least 15 days prior to the end ofthe
initial term or any renewal term. Upon termination ofthis Agreement for any reason, all
Insertion Orders shall terminate.

        11.2 Any party to this Agreement may elect to terminate this Agreementfor any reason
or no reason by giving one(1)day prior written notice to the other parties to this Agreement

        113 This Agreement may be terminated immediately by any party(a)in the event that
any bankruptcy,insolvency,liquidation, dissolution, or sinailar action or proceeding is instituted,
commenced,or acquiesced to by any other party or, ifinstituted or commenced involuntarily
against any other party,is not stayed or dismissed within sixty(60)days after that invohmtary
institution or commencement,(b)if any party otherwise becomes insolvent, admits in writing its
inability to pay its debts as they mature, makes a general assignment for the benefits ofits
creditors, or enters into any workout or similar arrangement with its creditors, or(c)if any party
discontinues its business.

       11.4 Termination ofthis Agreement shall not prevent any party from pursuing any
remedy available to it in law or equity, nor shall it excuse or d.ischarge any obligation that
accrued prior to the termination date.

        11.5 Upon expiration or termination ofthis Agreement,any property, ofwhatever kind
or nature, whether created by this Agreement or otherwise,in the possession ofaparty and for,
which the party is not entified by the express terms ofthis Agreement to continue using after the
expiration ortemination ofthis Agreement, shall, pursuant to instructions from either ofthe
other parties, be(a)promptly returned to such other party or(b)destroyed and a certification of
destruction provided to such other party. In addition, upon expiration or termination ofthis
Agreement:(i) all rights granted `to Vendor,including any non-exclusive license rights, shall
terminate; and (ii) Vendor and each Vendor Subcontractor shall finmediately discontinue any and
all use ofthe EDMC Content,EDMC Creative Content, and Intellectual Property,

12.     AUDIT RIGHTS:REPORTS

        12.1 DP and EDMC shall have the right to examine the books and records of Vendor
in regard to and/or in connection with this Agreement at all reasonable times. During the term of
this Agreement and for a period ofthree(3)years thereafter, Vendor shall keep complete and
accurate books and records ofaccount relating to the performance ofits obligations under this.
Agreement. DP or EDMC may cause an audit and/or inspection to be made ofthe Vendor's
books and records in order to verify Vendor's compliance with the terms ofthis Agreement. Any
audit and/or inspection shall be conducted during regular business hours at Vendor's facilities
upon reasonable prior notice to Vendor.- Vendor shall provide DP's or EDMC's designated audit
or inspection team, as applicable, access to the relevant Vendor books and records..




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       12.2 Vendor shall provide reports to DP containing such data.and details and with such
frequency as cha11 be reasonably requested by DP from time to time.

13.     MISCELLANEOUS

        13.1 Choice ofLaw. This Agreement,including, without limitation, all questions
concerning the construction, validity, and interpretation ofthis Agreement and the performance
ofthe obligations imposed by this Agreement, chail be govemed by the laws ofthe State of
Delaware, excluding any law or conflicts oflaw principle that would apply the law ofanother
jurisdiction. The parties agree that any action with respect to or arising out ofthis Agreement
shall be brought and maintained exclusively in a state or federal court ofcompetentjurisdiction
located in the State ofDelaware. The parties hereby irrevocably consent to the personal
jurisdiction ofand -venue in such courts.

        132 Notice. All notices under this Agreement shAll be in writing and shall be effective
upon the earlier of actual receipt or five(5)days following deposit into the United States mail
(certified mail, return receipt requested),the next business day following deposit with a
nationally recognized overnight courier service, or the same day ifsent by facsimile or email
with confirmation ofdelivery to the address set forth below or such other address as any party
may notify each other party from time to time in accordance with this section. Email shall
constitute a writingfor Purposes ofthis Agreement

                   If to Vendor: At the address,facsimile number or email address set forth on
the signature page hereof.

                  Ifto DP:At the address in the introductoryparagraph ofthis Agreement, at
the following facsimile number: 410-332-1059 or email address:

                  Ifto EDMC:At the address in the introductory paragraph ofthis Agreement,
atthe following facsimile number:              or email address:

        13.3 Assignment. Any party to thii Agreement may assign this Agreement in whole or
in part without the prior written consent ofthe other parties to this Agreement upon at least three
(3)business days prior written notice to the other parties to this Agreement.

        13.4 Severability. The provisions ofthis Agreement are severable, and in the event,
that any provision ofthis Agreement is determined to be invalid or unenforceable under any
controlling body oflaw,such invalidity or unenforceability shall not in any way affect the
validity or enforceability ofthe remaining provisions hereof

        13.5 Entire Agreement. This Agreement,including any Exhibits and Schedules hereto
and any Insertion Orders(which are deemed to be part ofthis Agreement), constitute the entire
understanding between Vendor,DP and EDMC with respect to the subject matter hereof, and
supersedes all prior agreements, arrangements,representations and communications(whether
oral or written), regarding the subject matter ofthis Agreement. Except as may be specifically
provided herein, no change, modification, amendment,addition or termination ofthis Agreement
or any part thereofshall be valid unless in writing and signed by or on behalfofthe party to be
charged therewith.



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         13.6 Independent Contactor. Nothing in this Agreement shall be deemed to
constitute„create, give effect to, or otherwise recognize ajoint venture,partnership, pooling
arrangement,formal business entity or any type of permanent arrangement, and the employees of
one party shall not be deemed employees of another party. DP,EDMC and Vendor shall be
acting in their respective capacities as independent contractors and under no circumstances will
any party be deemed to be in any relationship with any other party carrying with it fiduciary or
trust responsibilities, whether through partnership or otherwise, and no party undertakes by this
Agreement or otherwise to perform any obligation ofany other party, whether regulatory or
contractual, or to assume any responsibility for any other party's business or operation& Each
party hasthe sole right and obligation to supervise, manage, contract, direct, procure, perform or
cause to be performed, all work to be performed by it hereunder. For the avoidance of doubt,
Vendor acknowledges and agrees that Vendor and its employees or subcontractors shall not be
entitled to anyDP or EDMC benefits,including: (a)income tax withholding;(b)401(k)or other
retirement benefits;(c)health, life, disability or dental insurance; or(d)employee stock purchase
or stock option plans, and that Vendor shall be solely responsible for the withholding and
payment ofall taxes and insurance premiums owed by its employees,including workers'
compensation insurance.

        13.7 No Waiver. No waiver ofthe provisions hereof shnilbe effective unless in
writing and signed by the party to be charged with such waiver. No waiver shall be deemed a
continuing waiver or waiver in respect ofany subsequent breach or default, either ofa similar or
different nature, unless expressly so stated in writing.

         13.8 Publicity. Neither party may,publicize this Agreement or the transactions
contemplated hereby or use in any manner the name or trademarks ofany other party or its
affiliates other than as expressly contemplated by this Agreement

        13.9 Survival. The expiration or termination ofthis Agreement for any reason will not
release any party from any liabilities or obligations set forth herein which(a)the parties have
expressly agreed will survive any such expiration or termination or(b)remain to be performed or-
(c)by their nature would be intended to be applicable following any such expiration or
termination. Without limitation ofthe foregoing, Sections 2.6,43,7,8.1,9, 10, 11.5, 12 and 13
shall survive tennination or expiration ofthis Agreement. In addition, expiration or termination
shall not extinguish any claim for breach relating to events which occurred prior to such
expiration or termination.

        13.10 Headings; Etc. The headings and other captions in this Agreement are inserted
for purposes of convenience only and shall not be used in interpreting, construing or enforcing
any ofthe provisions ofthis Agreement Common nouns and pronouns will be deemed to refer
to the masculine,feminine,neuter, singtilar, and plural, as the context may require.

       13.11 Counterparts. This Agreement may be executed in counterparts, and each such
executed counterpart so delivered shall be deemed an original instrument, and all such
counterparts together shall constitute but one agreement. Facsimile or electronic signatures shall
have the same effect as original signatures.




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         13.12 Interpretation. It is expressly agreed that this Agreement shall not be construed
against any,  party, and no consideration sliall be given or presumption made on the basis of which
party drafted this Agreement or any particular provišion hereofor which party supplied the form
of agreement. Each party agrees that this Agreement has been purposefully drawn and correctly
reflects its understanding ofthe transaction that this Agreement contemplates. In construing this
Agreement examples shall not be construed to limit, expressly or by implication,the matter they
illustrate and the word "includee and its derivatives means "includes, but is not limited te and
corresponding derivative expressions.

        13.13 Recitals. The recitals contained in this Agreement are intended to be and are part
ofthis Agreement, and are incorporated into the Agreement by reference as iffully set forth
herein.




                   [Remainder ofPage Intentionally Left Blank Signatures Follow]




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       IN WITNESS WHEREOF,fhe parties hereto have executed tliis Agreement as ofthe
Effective Date.


VENDOR '                                      DOUBLE POSITIVE MARKETING
                                              GROUP,INC.
C)4.e 0. ate Akek&I;

By: 0>t14                                       y:
Name. Mao< -1146,,mtv                         Name:
Title:Eutv etes5 Diva           i41044-Arr    Title:
Date: Ityr5                                   Date:

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Address: .clt- S..v,,,..,,4-,.,,,,
         5,..4e. 1)00                         EDUCATION MANAGEMENT LLC
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Facsimile:/-601-(on- ovw-                     BY:
Email: mOntAmAs Q.1ofil.ce.eiN                Name:
                                              Title:
                                              Date:
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                                      Schedule A •
                                      TM Terms

"Art Institute
"Ai.com"
".Ai"

"Artinstitutes.edu?'
"ArtSchool.com"
"Bradley Academy"
"International Culinary School"
'New York Restaurant Schoor'
"California Design College
"Miami International University ofArt & Desige
"Illinois Institute ofArr
"New England Institute ofArr
"Argosy"
"American School ofProfessional Psycholo
'American School ofPsychology" •
"South Universitr
"South Online
"Brown Mackie
"Chapparral College
"Western State University ofLaw"
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                                        Schedule B
                             Form of Marketing Violation Notice

Date

Vendor

Re: DoublePositive Online Marketing Agreementfor EDMC Institutions(the "Agreement")—
Marketing Violation Notice

Dear Vendor:

This letter serves as notice that Vendor is in violation ofSection 2._ ofthe Agreement.
Attached is a screenshot ofthe EDMC Creative Content or the Vendor Creative Content in
question or the advertising, marketing and/or promotion in question.

Please immediately remove the EDMC Institutions from the EDMC Creative Content or Vendor
Creative Content(as those terms are defined in the Agreement) or from the advertising,
marketing and/or promotion that is in violation of Section 2:_ ofthe Agreement. Also, you may
not deliver to DP,any Lead Contact Information that was generated by such EDMC Creative
Content or Vendor Creative Content or from such advertising, marketing and/or promotion.

If you have any questions, please contact

Thank you in advance for your cooperation in thi
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                                           Schedule C
                                  Forzn of TM Violation Notice

Date

Vendor

Re: DoublePoSitive Online Marketing Agreement for EDMC Institutions (the "Ageernent")—
Trademark Violation Notice

Dear Vendor

This letter serves as notice that Vendor is in violation of Section 2._ ofthe Ageement
regarding use ofTM Terms, Tbird Party TM Terms or Prohibited Terms(as those terms are
defined in the Agreement).

The url in question is www.                 and the destination url is www.         . These
landing pages correspond to the violations.

Attached is a screenshot that provides an example ofthe violations occurring on the Intemet.

In addition to the, discounts that may be assessed pursuant to Section 2.   ofthe Agreement,
Vendor is required to correct the breach.

Ifyou have any questions,please contact

Thank you in advance for your cooperation in this important matter.

Very truly yours,
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                                Schedule D
                            Restricted Vendors
